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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 22-81976-CV-MIDDLEBROOKS/Matthewman

  ANDREW E. HOFFMAN,

         Petitioner,

  v.

  SECRETARY, DEPARTMENT OF
  CORRECTIONS, STATE OF FLORIDA,

         Respondent.
                                                /

  ORDER ADOPTING REPORT AND RECOMMENDATION OF MAGISTRATE JUDGE

         THIS CAUSE comes before the Court on Magistrate Judge William Matthewman’s Report

  and Recommendation (“Report”), issued on November 8, 2023. (DE 16). The Report recommends

  denying Petitioner Andrew E. Hoffman’s Petition for Writ of Habeas Corpus pursuant to 28 U.S.C.

  §2254 in its entirety. Petitioner filed objections on December 21, 2023. (DE 19).

         I have conducted a de novo review of Judge Matthewman’s Report, the record in this case,

  and I have considered the applicable law. I have also considered Petitioner’s objections, and I find

  that they lack merit. Accordingly, I agree with Judge Matthewman’s recommendations and adopt

  his Report. Further, I find that Petitioner cannot make “a substantial showing of the denial of a

  constitutional right” sufficient to support the issuance of a Certificate of Appealability. See 28

  U.S.C. § 2253.

         Accordingly, it is ORDERED AND ADJUDGED that:

         (1) The Report (DE 16) is ADOPTED.

         (2) Movant’s Objections (DE 19) are OVERRULED.

         (3) Petitioner Andrew E. Hoffman’s Petition Under 28 U.S.C. § 2254 For Writ of Habeas
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           Corpus (DE 1) is DENIED.

        (4) No certificate of appealability shall issue.

        (5) Final Judgment shall be entered by separate Order.

        SIGNED in Chambers at West Palm Beach, Florida, this 2nd day of January, 2024.




                                                           Donald M. Middlebrooks
                                                           United States District Judge

  cc:   Honorable William Matthewman
        Counsel of Record




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